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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                       :
CALIFORNIA, COLORADO,                           :
CONNECTICUT, DELAWARE,                          :
DISTRICT OF COLUMBIA, FLORIDA,                  :
GEORGIA, HAWAII, ILLINOIS,                      :           CIVIL ACTION
INDIANA, IOWA, LOUISIANA,                       :
MARYLAND, MASSACHUSETTS,                        :           NO. 15-6264
MICHIGAN, MINNESOTA, MONTANA,                   :
NEVADA, NEW JERSEY, NEW                         :
MEXICO, NEW YORK, NORTH                         :
CAROLINA, OKLAHOMA, RHODE                       :
ISLAND, TENNESSEE, TEXAS,                       :
VIRGINIA, and WISCONSIN, ex rel.                :
CATHLEEN FORNEY,                                :
                                                :
       Plaintiffs/Relator,                      :
                                                :
         v.                                     :
                                                :
MEDTRONIC, INC.,                                :
                                                :
       Defendant.                               :

                                            ORDER

       AND NOW, this 12th day of October, 2017, in accordance with the Honorable Edward G.

Smith’s August 14, 2017 Order (Doc. No. 51) referring all discovery issues in this case to this

Court, and upon consideration of the letters of Susan L. Burke, Esquire, Susan Ellis Wild,

Esquire, and Howard S. Stevens, Esquire on behalf of Relator (September 26, 2017 and October

10, 2017), and the letter of Kirsten V. Mayer, Esquire on behalf of Defendant Medtronic, Inc.

(“Medtronic”) (October 2, 2017), and this Court having conducted a telephone conference with

counsel, IT IS HEREBY ORDERED that:

               1.     Relator’s request that Medtronic produce “all calendars” from November

                      2009 to July 2017 is GRANTED IN PART AND DENIED IN PART.
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                      Medtronic shall produce all calendars from the Cardiac Rhythm business

                      unit from November 2009 to July 2017. 1

               2.     Medtronic’s request that Relator provide revised initial disclosures

                      pursuant to Fed. R. Civ. P. 26(a)(1) is DENIED.

               3.     Relator shall respond to Medtronic’s Interrogatory No. 2 requesting

                      Relator to identify the persons whose testimony she expects to use at trial

                      on or before October 20, 2017. 2




                                                     BY THE COURT:



                                                     /s/ Marilyn Heffley
                                                     MARILYN HEFFLEY
                                                     UNITED STATES MAGISTRATE JUDGE




1
    Medtronic objects to the nationwide scope of Relator’s document request for calendar entries.
The Second Amended Complaint, however, asserts claims based upon Medtronic’s alleged
practices nationwide. These claims have not been dismissed or otherwise limited geographically
and, accordingly, the Court finds that this request, limited to the Cardiac Rhythm business unit,
satisfies the requirements of Fed. R. Civ. P. 26(b)(1). The Court emphasizes, however, that this
Order is limited solely to the production of Medtronic’s calendars for the Cardiac Rhythm
business unit during the relevant time period. To the extent a subsequent dispute arises regarding
the geographic scope of any additional discovery request on the basis of proportionality or
otherwise, the parties are directed to raise that dispute with this Court if they are unable to
resolve it through the meet and confer process.
2
    The Court is aware that, pursuant to Fed. R. Civ. P. 33, Relator has until October 26, 2017 in
which to respond to this Interrogatory and acknowledges that Relator has agreed to respond to
Interrogatory No. 2 in advance of that deadline as a courtesy. The time in which Relator has to
respond to any additional outstanding Interrogatories remains unaffected by this Order.
                                                2
